                    Case 24-30494            Doc 1       Filed 06/11/24 Entered 06/11/24 11:11:48                              Desc Main
                                                           Document     Page 1 of 15

Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Blueworks Corporation

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  8408 Channel Way
                                  Waxhaw, NC 28173
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Union                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.blueworkspool.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    Case 24-30494                Doc 1      Filed 06/11/24 Entered 06/11/24 11:11:48                                    Desc Main
                                                              Document     Page 2 of 15
Debtor    Blueworks Corporation                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4431

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                    Case 24-30494                   Doc 1         Filed 06/11/24 Entered 06/11/24 11:11:48                                Desc Main
                                                                    Document     Page 3 of 15
Debtor    Blueworks Corporation                                                                           Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                    Case 24-30494    Doc 1        Filed 06/11/24 Entered 06/11/24 11:11:48                      Desc Main
                                                    Document     Page 4 of 15
Debtor   Blueworks Corporation                                                       Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                    Case 24-30494            Doc 1       Filed 06/11/24 Entered 06/11/24 11:11:48                                Desc Main
                                                           Document     Page 5 of 15
Debtor    Blueworks Corporation                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 11, 2024
                                                  MM / DD / YYYY


                             X /s/ Michael Bowers                                                         Michael Bowers
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CRO




18. Signature of attorney    X /s/ Matthew L. Tomsic                                                       Date June 11, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Matthew L. Tomsic
                                 Printed name

                                 Rayburn Cooper & Durham, P.A.
                                 Firm name

                                 227 West Trade Street, Suite 1200
                                 Charlotte, NC 28202
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     704-334-0891                  Email address      mtomsic@rcdlaw.net

                                 52431 NC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
              Case 24-30494               Doc 1        Filed 06/11/24 Entered 06/11/24 11:11:48                            Desc Main
                                                         Document     Page 6 of 15




Fill in this information to identify the case:

Debtor name         Blueworks Corporation

United States Bankruptcy Court for the:     WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 11, 2024                   X /s/ Michael Bowers
                                                           Signature of individual signing on behalf of debtor

                                                            Michael Bowers
                                                            Printed name

                                                            CRO
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                    Case 24-30494            Doc 1        Filed 06/11/24 Entered 06/11/24 11:11:48                                        Desc Main
                                                            Document     Page 7 of 15

 Fill in this information to identify the case:
 Debtor name Blueworks Corporation
 United States Bankruptcy Court for the: WESTERN DISTRICT OF NORTH                                                                           Check if this is an
                                                CAROLINA
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Blueworks                 Christina D.              Appealed                  Contingent                                                                  $16,021,736.30
 Innovation                Trimmer, Alex             Judgment                  Unliquidated
 Corporation               Long                                                Disputed
 c/o Christina D.
 Trimmer                   ctrimmer@shumak
 Shumaker Loop &           er.com,
 Kendrick, LLP             along@shumaker.c
 101 South Tryon           om
 Street, Suite 2200        704-945-2151,
 Charlotte, NC 28280       704-945-2911
 Digital Evidence                                    Professional                                                                                                $54,872.21
 Group LLC                                           Services
 c/o National
 Registered Agents,
 Inc.
 1015 15th St. NW,
 Suite 1000
 Washington, DC
 20005
 Dongfang Yu                                         Salary                                                                                                        $2,501.50
 2210 Legacy Oak
 Drive
 Waxhaw, NC 28173
 Hayward Industries,       Chad Ewing                Appealed                  Contingent                                                                  $16,021,736.30
 Inc.                                                Judgment                  Disputed
 c/o Chad Ewing            chad.ewing@wbd-
 Womble Bond               us.com
 Dickinson, LLP            704-331-4996
 301 South College
 Street, Suite 3500
 Charlotte, NC 28202
 Jinghong Shi                                        Loan                                                                                                        $90,000.00
 P.O. Box 1312
 Grand Junction, CO
 81502




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                    Case 24-30494            Doc 1        Filed 06/11/24 Entered 06/11/24 11:11:48                                        Desc Main
                                                            Document     Page 8 of 15


 Debtor    Blueworks Corporation                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Kathleen Grace                                      Professional                                                                                                  $8,848.72
 470 Lytle Cove Rd.                                  Services
 Swannanoa, NC
 28778
 KJ Accounting                                       Professional                                                                                                $10,000.00
 Services                                            Services
 53 Carnegie Avenue
 Staten Island, NY
 10314
 NC Department of                                    Taxes                                                                                                           $455.00
 Revenue
 PO Box 25000
 Raleigh, NC
 27640-0520
 Ningbo C.F.           Christina D.                  Appealed                  Contingent                                                                  $19,502,804.79
 Electronic Tech.      Trimmer, Alex                 Judgment/Trade            Unliquidated
 Co., Ltd.             Long                          Debts                     Disputed
 c/o Christina D.
 Trimmer & Alex        ctrimmer@shumak
 Long                  er.com,
 Shumaker Loop &       along@shumaker.c
 Kendrick, LLP         om
 101 South Tryon       704-945-2151,
 Street, Suite 2200    704-945-2911
 Charlotte, NC 28280
 Ningbo Haishu                                       Trade Debts                                                                                               $100,000.00
 Shuyujie Elec.
 Components
 Unit 15,
 ZhouGongZhai
 Village
 DongQiao Town,
 Haishu District,
 Ningbo, China
 315174
 Ningbo Yishang        Christina D.                  Appealed                  Contingent                                                                  $16,021,736.30
 Import and Export     Trimmer, Alex                 Judgment                  Unliquidated
 Co. Ltd               Long                                                    Disputed
 c/o Christina D.
 Trimmer & Alex        ctrimmer@shumak
 Long                  er.com,
 Shumaker Loop &       along@shumaker.c
 Kendrick, LLP         om
 101 South Tryon       704-945-2151,
 Street, Suite 2200    704-945-2911
 Charlotte, NC 28280
 Platinum Intellectual Michelle Dunn                 Legal Fees                                                                                                $136,556.05
 Property, PC
 3031 Tisch Way, Ste. michelle.dunn@pla
 110 PW                tinum-ip.com
 San Jose, CA 95128 408-800-5884



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                    Case 24-30494            Doc 1        Filed 06/11/24 Entered 06/11/24 11:11:48                                        Desc Main
                                                            Document     Page 9 of 15


 Debtor    Blueworks Corporation                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Shumaker, Loop &          Christina D.              Legal Fees                                                                                                $250,175.17
 Kendrick, LLP             Trimmer, Alex
 101 S. Tryon St.,         Long
 Suite 2200
 Charlotte, NC 28280       ctrimmer@shumak
                           er.com,
                           along@shumaker.c
                           om
                           704-945-2151,
                           704-945-2911




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
              Case 24-30494                Doc 1        Filed 06/11/24 Entered 06/11/24 11:11:48                                      Desc Main
                                                         Document     Page 10 of 15
                                                      United States Bankruptcy Court
                                                         Western District of North Carolina
 In re    Blueworks Corporation                                                                                   Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Haoqi Sun                                                   Common                70%                                        Shareholder



Zefeng Chen                                                 Common                30%                                        Shareholder



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CRO of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date June 11, 2024                                                       Signature /s/ Michael Bowers
                                                                                        Michael Bowers

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
            Case 24-30494            Doc 1       Filed 06/11/24 Entered 06/11/24 11:11:48                          Desc Main
                                                  Document     Page 11 of 15




                                               United States Bankruptcy Court
                                                 Western District of North Carolina
 In re   Blueworks Corporation                                                                   Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the CRO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




Date:     June 11, 2024                                  /s/ Michael Bowers
                                                         Michael Bowers/CRO
                                                         Signer/Title
    Case 24-30494   Doc 1   Filed 06/11/24 Entered 06/11/24 11:11:48   Desc Main
                             Document     Page 12 of 15


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                      Amazon.com, Inc.
                      Amazon Legal Department
                      Attn: General Counsel
                      2021 7th Avenue
                      Seattle, WA 98121


                      Amazon.com, Inc.
                      410 Terry Avenue North
                      Seattle, WA 98109


                      American Express National Bank
                      c/o CT Corporation System, Reg. Agent
                      160 Mine Lake Ct., Suite 200
                      Raleigh, NC 27615-6417


                      Blueworks Innovation Corporation
                      c/o Christina D. Trimmer
                      Shumaker Loop & Kendrick, LLP
                      101 South Tryon Street, Suite 2200
                      Charlotte, NC 28280


                      Digital Evidence Group LLC
                      c/o National Registered Agents, Inc.
                      1015 15th St. NW, Suite 1000
                      Washington, DC 20005


                      Dongfang Yu
                      2210 Legacy Oak Drive
                      Waxhaw, NC 28173


                      Haoqi Sun
                      No. 24, Sun Jia Shan
                      New Maoshan Village, Jing Shan Town
                      Ningbo, China 315193


                      Hayward Industries, Inc.
                      c/o Chad Ewing
                      Womble Bond Dickinson, LLP
                      301 South College Street, Suite 3500
                      Charlotte, NC 28202


                      Internal Revenue Service
                      Centralized Insolvency Operation
                      2970 Market Street
                      Mail Stop 5-Q30-133
                      Philadelphia, PA 19104-5016
Case 24-30494   Doc 1   Filed 06/11/24 Entered 06/11/24 11:11:48   Desc Main
                         Document     Page 13 of 15



                  Internal Revenue Service
                  Centralized Insolvency Operation
                  PO Box 7346
                  Philadelphia, PA 19101


                  Jinghong Shi
                  P.O. Box 1312
                  Grand Junction, CO 81502


                  Kathleen Grace
                  470 Lytle Cove Rd.
                  Swannanoa, NC 28778


                  KJ Accounting Services
                  53 Carnegie Avenue
                  Staten Island, NY 10314


                  Mocraft Corporation
                  99 Hook Road, Suite 5
                  Bayonne, NJ 07002


                  NC Department of Revenue
                  PO Box 25000
                  Raleigh, NC 27640-0520


                  Ningbo C.F. Electronic Tech. Co., Ltd.
                  c/o Christina D. Trimmer & Alex Long
                  Shumaker Loop & Kendrick, LLP
                  101 South Tryon Street, Suite 2200
                  Charlotte, NC 28280


                  Ningbo Haishu Shuyujie Elec. Components
                  Unit 15, ZhouGongZhai Village
                  DongQiao Town, Haishu District,
                  Ningbo, China 315174


                  Ningbo Yishang Import and Export Co. Ltd
                  c/o Christina D. Trimmer & Alex Long
                  Shumaker Loop & Kendrick, LLP
                  101 South Tryon Street, Suite 2200
                  Charlotte, NC 28280


                  Platinum Intellectual Property, PC
                  3031 Tisch Way, Ste. 110 PW
                  San Jose, CA 95128
Case 24-30494   Doc 1   Filed 06/11/24 Entered 06/11/24 11:11:48   Desc Main
                         Document     Page 14 of 15



                  Shumaker, Loop & Kendrick, LLP
                  101 S. Tryon St., Suite 2200
                  Charlotte, NC 28280


                  US Attorney for Western District of NC
                  Attn: Bankruptcy Division
                  227 West Trade Street, Suite 1650
                  Charlotte, NC 28202


                  Zefeng Chen
                  c/o J. Walton Milam III
                  Rosenwood, Rose & Litwak, PLLC
                  1712 Euclid Avenue
                  Charlotte, NC 28203


                  Zhoujing "Gina" Lu
                  c/o Richard S. Wright
                  Moon Wright & Houston, PLLC
                  212 N. McDowell Street, Suite 200
                  Charlotte, NC 28204
           Case 24-30494         Doc 1     Filed 06/11/24 Entered 06/11/24 11:11:48                  Desc Main
                                            Document     Page 15 of 15



                                         United States Bankruptcy Court
                                           Western District of North Carolina
 In re   Blueworks Corporation                                                       Case No.
                                                            Debtor(s)                Chapter    11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Blueworks Corporation in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




June 11, 2024                                  /s/ Matthew L. Tomsic
Date                                           Matthew L. Tomsic
                                               Signature of Attorney or Litigant
                                               Counsel for Blueworks Corporation
                                               Rayburn Cooper & Durham, P.A.
                                               227 West Trade Street, Suite 1200
                                               Charlotte, NC 28202
                                               704-334-0891
                                               mtomsic@rcdlaw.net
